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MULE CREEK STATE PRISON

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IN THE UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF CALIFORNIA

TY ERIK LOPES,
Plaintiff,

vs. CASE NO. 2:07-CV-01102-JAM-KJM

SAN JOAQUIN COUNTY HUMAN SERVICES AGENCY, ETAL,,
D
efendents, HEARING DUE TO NEW
EVIDENCE IN SUPPORT
OF COMPLAINT

I, Ty Erik Lopes, plaintiff, ttereby requests an evidentiary hearing in
the above entitled action due to new evidence just received in the mail
from plaintiff's mother on July 3,2008. In support of this motion,
plaintiff provides the following factual information.

1. On July 3,2008, I, Ty Erik Lopes received a letter from my mother
(Norne Lopes) in which truth is beginning to appear regarding the FACT
that I have been illegally restrained from my biological grandchildren
without any good cause, timely notice nor a timely opportunity to be
heard as required under 18 U.S.C § 2265 (1994)(VAWA)). The defendents
have deceived my mother, Norne Lopes, into believing that I have been
restrained from my grandchildren and defendent "B" of the plaintiffs

complaint appears to be the main perpetrator of the illegal actions as

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MOTION FOR EVIDENTIARY
Case 2:07-cv-01102-JAM-KJM Document 10 Filed 07/14/08 Page 2 of 4

alleged in the complaint and in pltaintiff*s OBJECTION TO MAGISTRATE

JUDGES FINDINGS AND RECOMMENDATIONS. (See attached letter from

plaintiff's mother, Norne Lopes, received by plaintiff on July 3,

2008, through the U.S. Mail) Plaintiff has highlighted the portion of

the attached letter
plaintiffs daughter
the complaint filed

For the foregoing

and informs this court of the fact that "Mandi," is
and Mandi's attorney is defendent "B" as stated in
in this court on June 8,2007.

reason, plaintiff respectfully request an evidentiary

hearing as it appears that Ghristopher J. Massod is the main perpetrator

of plaintiffs allegations as stated in the above entitled complaint. *

Plaintiff hereby requests that an attorney be appointed to assist plaintiff.

Respectfully submitted,

Ty Brék Lopes (Plaintiff)

* I still haven't seen my grandchildren because my dear mother ig: afraid
to bring them to the prison to visit with me for fear of reprisals and
punishment from the defendents and the Juvenile Court. My mother is

working desperately to overturn an order that doesn't even exist! The
next Juvenile Court hearing is set for July 28,2008.

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